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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT



GARRET SITTS, et al.,          )
                               )
               Plaintiffs,     )
                               )
v.                             )                       Case No. 2:16-cv-00287-cr
                               )
DAIRY FARMERS OF AMERICA, INC. )
and                            )
DAIRY MARKETING SERVICES, LLC, )
                               )
               Defendants.     )



                                   NOTICE OF APPEARANCE

To the Clerk of the Court:

       Please enter the appearance of the undersigned as counsel of record on behalf of the United

States Attorney for the District of Vermont. This office represents the United States.

               Dated at Burlington, in the District of Vermont, this 27nd day of July, 2020.

                                                       Sincerely,

                                                       CHRISTINA E. NOLAN
                                                       United States Attorney


                                               By:     /s/ Jason M. Turner____
                                                       JASON TURNER
                                                       Assistant U.S. Attorney
                                                       District of Vermont
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